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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA

v.                                              Case No. 1:25-mj-00177-JCN

ROBERT TYLER WICKS


                               CRIMINAL COMPLAINT

       The undersigned complainant, being duly sworn, states:

                                     COUNT ONE
                           (False Information and hoaxes)

       On about February 13 and 14, 2025, in the District of Maine and elsewhere, the

defendant

                               ROBERT TYLER WICKS

did knowingly engage in conduct with the intent to convey false and misleading

information, under circumstances where such information might reasonably be

believed, and where such information indicated that an activity would take place that

would constitute a violation of Chapter 40 of Title 18 of the United States Code.

Specifically, Defendant Wicks threatened via text message and by telephone to detonate

a bomb at the Bangor International Airport. Such conduct would constitute a violation

of Chapter 40 of Title 18, United States Code, Section 844(i).



All in violation of Title 18, United States Code, Section 1038(a)(1).




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AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                   for the
                                                              District of Maine

                   United States of America
                              v.                                     )
                                                                     )        Case No.    1:25-mj-00177-JCN
                                                                     )
                                                                     )
                    ROBERT TYLER WICKS                               )
                                                                     )
                              Defendant


                                                       ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Robert Tyler Wicks                                                                                   ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment              ’ Superseding Indictment          ’ Information         ’ Superseding Information            ✔ Complaint
                                                                                                                       ’
’ Probation Violation Petition               ’ Supervised Release Violation Petition       ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  Violation of 18 U.S.C. § 1038(a)(1)




      Date and rime issued:


      City and state:
                                  11:33 am, May 15 2025

                                          Bangor, ME
                                                                                             �_;,,t
                                                                                  John C Nivilt U.S. Magistrate Judge
                                                                                            Printed name and title



                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title



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